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     JAMES SHAYLER
10
11                         UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13
     James Shayler,                          Case No.:
14
15           Plaintiff,
16   v.                                       COMPLAINT FOR VIOLATIONS
                                              OF: AMERICANS WITH
17   Robert A. Galvan, trustee of the Robert DISABILITIES ACT OF 1990, 42
                                              U.S.C. § 12181 et seq.; UNRUH
18   and Judith Galvan Intervivos Trust dated CIVIL RIGHTS ACT, CALIFORNIA
     September 28, 2007; Judith K. Galvan,    CIVIL CODE § 51 et seq.
19   trustee of the Robert and Judith Galvan
20   Intervivos Trust dated September 28,
     2007 and Judith K. Galvan; and Does 1-
21   10,                                      DEMAND FOR JURY TRIAL
22
              Defendants.
23
24
25             Most Americans will become disabled at some point in life.
26
27
28

                                      COMPLAINT
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 1         Plaintiff James Shayler (hereinafter referred to as “Plaintiff,”) complains of
 2
     Robert A. Galvan, trustee of the Robert and Judith Galvan Intervivos Trust dated
 3
 4   September 28, 2007; Judith K. Galvan, trustee of the Robert and Judith Galvan

 5   Intervivos Trust dated September 28, 2007 and Judith K. Galvan; and Does 1-10
 6
     (each, individually a “Defendant,” and collectively “Defendants”), and alleges as
 7
 8   follows:
 9                             I.     PARTIES
10
           1.     James Shayler has gone through multiple knee replacement surgeries
11
12   and has a pinched sciatic nerve that runs down his entire left leg which causes his
13   leg to give out sporadically. He has spinal arthritis and experiences severe back
14
     pain on a regular basis. He has difficulty walking and standing and relies on a
15
16   cane and walker for mobility. He also suffered an injury that required surgery and
17   the resulting surgery left him with very little use of his left arm. Plaintiff is
18
     qualified as being disabled pursuant to 42 U.S.C. § 12102(2)(A), the California
19
20   Unruh Civil Rights Act, §§ 51, et seq., 52, et seq., and other statutory laws which
21
     protect the rights of “disabled persons”. Plaintiff has been issued a blue permanent
22
     disability Disabled Person Parking Placard by the State of California. Plaintiff is a
23
24   California resident with physical disabilities.
25
           2.     Defendants Robert A. Galvan, trustee of the Robert and Judith Galvan
26
     Intervivos Trust dated September 28, 2007; Judith K. Galvan, trustee of the Robert
27
28   and Judith Galvan Intervivos Trust dated September 28, 2007 and Judith K.
                                           2
                                       COMPLAINT
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 1   Galvan,owned the property (“Property”) located at 2920 Lincoln Blvd, Santa
 2
     Monica, CA 90405, at all relevant times.
 3
 4         3.     There is a business establishment on the Property known as “Pancho’s

 5   Tacos” (hereinafter “business”).
 6
           4.     DOES 1 through 10 were at all relevant times lessors, lessees, property
 7
 8   owners, subsidiaries, parent companies, employers, employees, agents, corporate
 9   officers, managers, principles and/or representatives of Defendants. Plaintiff is
10
     unaware of the true names and capacities of Defendants sued herein, as DOES 1
11
12   through 10, inclusive, and therefore, sues those Defendants by fictitious names.
13   Plaintiff requests that the Court grant leave to amend this complaint to allege the
14
     true names and capacities when determined by whatever source.
15
16         5.     Plaintiff alleges that Defendants at all times have been and are relevant
17   to this cause of action, the owners, franchisees, lessees, general partners, limited
18
     partners, agents, employees, employers, represent partners, subsidiaries, partner
19
20   companies, and/or joint ventures of the remaining Defendants and were acting
21
     within the course and scope of that relationship. Plaintiff is further informed and
22
     believes and alleges that each of the Defendants gave consent to, ratified, and/or
23
24   authorized the acts alleged of each of the remaining defendants.
25
           6.     Plaintiff visited the public accommodations owned and operated by
26
     Defendants with the intent to purchase and/or use the goods, services, facilities,
27
28   privileges, advantages, or accommodations operated and/or owned by Defendants.
                                            3
                                        COMPLAINT
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 1                               II.    JURISDICTION & VENUE
 2
            7.     This Court has subject matter jurisdiction over this action pursuant to
 3
 4   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with

 5   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
 6
            8.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 7
 8   action, arising from the same nucleus of operative facts and arising out of the same
 9   transactions, is also brought under California’s Unruh Civil Rights Act, which act
10
     expressly incorporates the ADA.
11
12          9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
13   founded on the fact that the real property which is the subject of this action is
14
     located in this district and that Plaintiff’s cause of action arose in this district.
15
16                               III.   FACTS
17          10.    The Property owned by Defendants is a facility which is open to the
18
     public and is a business establishment.
19
20          11.    Plaintiff alleges that the Property has been newly constructed and/or
21
     underwent remodeling, repairs, or alterations since 1992, and that Defendants have
22
     failed to comply with California access standards which applied at the time of each
23
24   new construction and/or alteration or failed to maintain accessible features in
25
     operable working condition.
26
            12.    Plaintiff visited the Property during the relevant statutory period on
27
28   three separate occasions, in October 2019, October 2020 and September 2020 to
                                            4
                                        COMPLAINT
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 1   patronize the business.
 2
           13.    Defendants did not offer persons with disabilities with equivalent
 3
 4   facilities, privileges and advantages offered by Defendants to other patrons.

 5         14.    Plaintiff encountered barriers (both physical and intangible) that
 6
     interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
 7
 8   services, privileges, and accommodations offered at the Property.
 9         15.    Parking for patrons visiting the Property are among the facilities,
10
     privileges, and advantages offered by Defendants to patrons of the Property.
11
12         16.    However, there is no accessible parking for disabled patrons. Not one
13   single space. The parking space designated for disabled persons does not comply
14
     with the Americans with Disabilities Act (“ADA”).
15
16         17.    The parking area does not comply with the latest California Building
17   Codes (“2010 CBC”).
18
           18.    Parking is one of the facilities, privileges, and advantages offered by
19
20   Defendants to patrons of the Property.
21
           19.    When Plaintiff visited the Property, he experienced access barriers
22
     related to parking, signage, paths of travel, and restroom.
23
24         20.    Plaintiff encountered the following barriers at Defendant’s Property:
25
26
           Pancho’s Tacos and the Property it sits on has no accessible designated
27
28         parking space, no accessible adjacent loading/unloading access aisle, no
                                          5
                                      COMPLAINT
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 1         accessible restroom, and no accessible paths of travel leading into the
 2
           business. There are sloping issues and faded paint in the only designated
 3
 4         disabled parking space and access aisle. There is no way for Plaintiff to

 5         safely disembark his vehicle because the access aisle is obstructed with
 6
           dining seating and other various objects.
 7
 8
 9         VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991
10
           ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
11
12         of travel.) An accessible route of travel is not provided to all entrances and
13         portions of the restaurant, entrances and/or between the store and a public
14
           way.
15
16
17         VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
18
           There is no accessible path of travel into the restaurant’s entrances. There is
19
20         no safe way for Plaintiff to travel from the parking area to the entrance of the
21         Property.
22
23
24         VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
25
           (Directional signage.) There is no directional signage showing an accessible
26
           path of travel.
27
28
                                          6
                                      COMPLAINT
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 1         VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
 2
           sign.) The tow away sign(s) (white sign stating that “UNAUTHORIZED
 3
 4         VEHICLES PARKED IN DESIGNATED ACCESSIBLE SPACES …

 5         WILL BE TOWED AWAY”) must be posted in a conspicuous place at each
 6
           entrance to an off-street parking lot (facility), or immediately adjacent to and
 7
 8         visible from each designated parking stall (space). The requisite sign(s) are
 9         not posted.
10
11
12         VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
13         sign – towed vehicle information.) The tow away sign (white sign stating
14
           that “UNAUTHORIZED VEHICLES PARKED IN DESIGNATED
15
16         ACCESSIBLE SPACES … WILL BE TOWED AWAY”) does not state the
17         required information regarding the tow company and telephone number.
18
19
20         VIOLATION of 2010 ADAS 403.3. (Path of travel- cross slope.) The cross
21         slope of the accessible path of travel is greater than two (2) percent.
22
23
24         VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
25
           502.2. (Faded paint – accessible space lines.) The paint used for the
26
           designated accessible parking space is so worn and aged that it cannot be
27
28         seen. This makes it unclear where the actual parking space is. The required
                                          7
                                      COMPLAINT
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 1         width dimensions are not painted as required. This makes it difficult for
 2
           Plaintiff to park in the designated space.
 3
 4
 5         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of
 6
           space). The parking space designated for disabled persons measures less than
 7
 8         nine (9) feet wide. This makes it difficult for Plaintiff to park in the
 9         designated space.
10
11
12         VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
13         space.) The designated disabled parking space measures less than eighteen
14
           (18) feet long, which makes it difficult for Plaintiff to park in the designated
15
16         space.
17
18
           VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
19
20         changes in level.) The path of travel from the space reserved for disabled
21         patrons has an uneven ground surface with changes in level exceeding one-
22
           half inch.
23
24
25
           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
26
           § 502.4. (Slope of parking space.) The parking space reserved for disabled
27
28         patrons has surface slopes in it that are greater than two (2) percent.
                                           8
                                       COMPLAINT
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 1
 2
           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
 3
 4         § 502.4. (Slope of adjacent access aisle.) The adjacent loading/unloading

 5         access aisle for the space reserved for disabled persons has surface slopes in
 6
           it that are greater than two (2) percent.
 7
 8
 9         VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
10
           2010 ADAS § 4.6.3. (Length of adjacent access aisle.) The adjacent access
11
12         aisle to the designated disabled parking space is less than eighteen (18) feet
13         long. This makes it difficult for Plaintiff to use the adjacent space to safely
14
           disembark from the car.
15
16
17         VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
18
           2010 ADAS § 4.6.3. (Width of adjacent access aisle.) The adjacent
19
20         loading/unloading access aisle to the designated disabled parking space is
21         less than five (5) feet wide. This makes it difficult for Plaintiff to use the
22
           adjacent space to safely disembark from the car.
23
24
25
           VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
26
           § 502.3. (No loading/unloading access aisle.) The adjacent loading/unloading
27
28         access aisle for the accessible parking space is missing entirely. The adjacent
                                          9
                                      COMPLAINT
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  1         loading/unloading access aisle is inaccessible because it is obstructed by
  2
            dining table seating, a trash can, and other objects. This makes it difficult for
  3
  4         Plaintiff to use the adjacent space to safely disembark from the car.

  5         VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for
  6
            the designated accessible parking spaces is faded and cannot be seen. There is
  7
  8         no compliant surface signage at the designated disabled parking space. The
  9         International Access Symbol is so faded and worn that it cannot be read. The
 10
            street surface (pavement) signage is unreadable because the paint has faded.
 11
 12
 13         VIOLATION of 2010 CBC § 1129B.3.1. (“NO PARKING” – ground
 14
            surface sign.) The words “NO PARKING” is fading from the adjacent
 15
 16         loading/unloading access aisles. As a result, non-disabled patrons park in the
 17         loading/unloading access aisles, blocking Plaintiff from being able to use the
 18
            access aisles. Cars and trucks park or block the access aisles because the
 19
 20         paint is faded and difficult to read.
 21
 22
            VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent
 23
 24         loading/unloading access aisle must adjoin an accessible route to an
 25
            accessible entrance. It does not.
 26
 27
 28         VIOLATION of 2010 CBC §§ 1120B.2, 1133B.7.4; 2010 ADAS §§ 302.1,
                                           10
                                        COMPLAINT
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  1         303.3. (Path from parking – uneven surface.) The path of travel from the
  2
            designated disabled parking space to the entrance has damaged ground that is
  3
  4         uneven. The damaged ground is uneven with loose material. There are

  5         cracks and uneven surfaces on the surface of the ground within the
  6
            designated path of travel leading into the entrance. This makes traveling in
  7
  8         this area difficult. The path of travel from the designated disabled parking
  9         space to the entrance runs into cracks and changes in level greater than one-
 10
            half inch, but no ramps are provided. These steep changes in level create
 11
 12         uneven surfaces.
 13
 14
            VIOLATION of 2010 CBC § 1129B.3.1; 2010 ADAS § 502.6; ADAS §
 15
 16         4.6.3. (Marked path of travel.) There is no marked path of travel from the
 17         disabled parking space to the entrance. There is no safe way for Plaintiff to
 18
            park there and then travel to the entrance of the Property. Plaintiff is forced
 19
 20         to travel a dangerous route, in the vehicle drive path to move from the space
 21         to the entrance.
 22
 23
 24         VIOLATION of 2010 CBC § 1133B.7.1. (Walks/sidewalks minimum
 25
            width.) The walk leading into the business does not have a minimum width
 26
            of forty-eight (48) inches.
 27
 28
                                             11
                                          COMPLAINT
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  1         VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS § 4.8.1. (Ramps.)
  2
            The accessible route of travel has a slope greater than 1:20 (5%) but is not a
  3
  4         compliant ramp.

  5         VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.) The
  6
            ramps do not have a minimum clear width of forty-eight (48) inches.
  7
  8
  9         VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
 10
            possible slope of ramp.) The least possible slope is not used for the ramp
 11
 12         leading into the business.
 13
 14
            VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
 15
 16         cross slope of ramp.) The cross slope of the ramp was greater than 2%.
 17
 18
            VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
 19
 20         landings.) Level ramp landings must be provided at the top and bottom of
 21         each ramp. They are not provided.
 22
 23
 24         VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4(1). (Width of
 25
            ramp landings.) The landing of ramps must be at least as wide as the ramp
 26
            run leading to it, but they are not.
 27
 28
                                            12
                                         COMPLAINT
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  1         VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2),
  2
            4.8.4(3). (Minimum landing width and length for top ramp landings.) The
  3
  4         ramp’s top landing is not sixty inches (60”) wide and long as required.

  5         VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
  6
            bottom ramp landings.) The ramp’s bottom landing is not seventy-two
  7
  8         inches (72”) in length as required.
  9
 10
            VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
 11
 12         (Minimum landing size for change of direction in ramp.) The change of
 13         direction in the ramp does not have a minimum landing size of 60” x 60”.
 14
 15
 16         VIOLATION of 2010 CBC § 1127B.5.7; 1991 ADAS § 4.7.7. (Detectable
 17         warnings - curb ramp.) Detectable warnings extending the full width and
 18
            depth of the ramp are not installed where curb ramps lead to an accessible
 19
 20         route.
 21
 22
            VIOLATION of 2010 ADAS § 404.2.4.4. (Slope of ground surface within
 23
 24         clearances.) Floor or ground surface within required maneuvering clearances
 25
            shall not have a slope exceeding two (2) percent. The entryway into the
 26
            business has a slope of more than two (2) percent.
 27
 28
                                         13
                                      COMPLAINT
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  1         VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Front door
  2
            entrance threshold and weather strip changes in level.) Inside the building,
  3
  4         the front door entrance threshold and weather strip has changes in level

  5         greater than one-half inch but provides no ramps. This makes traversing this
  6
            area difficult.
  7
  8
  9         VIOLATION of 2010 ADAS § 404.2.8.1. (Closing speed of door.) The door
 10
            closer is not adjusted so that from an open position of ninety (90) degrees,
 11
 12         the time required to move the door to a position of twelve (12) degrees from
 13         the latch is five (5) seconds minimum. The restroom door takes less than five
 14
            (5) seconds to move from a position of ninety (90) degrees to a position of
 15
 16         twelve (12) degrees from the latch.
 17
 18
            VIOLATION of 2010 CBC § 1133B.2.5; 1991 ADAS § 4.13.11; 2010
 19
 20         ADAS § 404.2.9. (Effort to operate restroom door.) The door opening force
 21         is greater than five (5) pounds, making it hard for Plaintiff to get inside the
 22
            restroom.
 23
 24
 25
            VIOLATION of 2010 CBC § 1115B.6. (Sanitary facilities – door signage.)
 26
            The sanitary facilities are missing door signage indicating an accessible
 27
 28         facility.
                                          14
                                       COMPLAINT
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  1
  2
            VIOLATION of 2010 CBC § 1117B.5.7; 1991 ADAS § 4.30.6; 2010
  3
  4         ADAS § 703.4. (Sanitary facilities – wall signage.) There is no signage on

  5         the wall approaching the restrooms.
  6
  7         21.      These inaccessible conditions denied Plaintiff full and equal access
  8
      and caused difficulty, humiliation, and/or frustration.
  9
            22.      The barriers existed during each of Plaintiff’s visits in 2019 and 2020.
 10
 11         23.      Plaintiff alleges that Defendants knew that the foregoing architectural
 12
      barriers prevented access. Plaintiff will prove that Defendants had actual knowledge
 13
 14
      that the architectural barriers prevented access, and that the noncompliance with the

 15   ADA Accessibility Guidelines and Title 24 of the California Building Code was
 16
      intentional.
 17
 18         24.      Plaintiff intends visit the Property again soon. Currently, Plaintiff is

 19   reasonably deterred from returning to Defendants’ public accommodation facilities
 20
      because of the knowledge of barriers to equal access, relating to Plaintiff’s
 21
 22   disabilities, that continue to exist at the Property.

 23         25.      Defendants have failed to maintain in working and useable conditions
 24
      those features necessary to provide ready access to persons with disabilities.
 25
 26         26.      Defendants have the financial resources to remove these barriers

 27   without much expense or difficulty in order to make their Property more accessible
 28
                                             15
                                          COMPLAINT
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  1   to their mobility impaired customers. The removal of these barriers is readily
  2
      achievable. The United States Department of Justice has determined that removal of
  3
  4   these types of barriers is readily achievable to remove.

  5         27.    Defendants refuse to remove these barriers.
  6
            28.    On information and belief, Plaintiff alleges that Defendants’ failure to
  7
  8   remove these barriers was intentional, because the barriers are logical and obvious.
  9   During all relevant times, Defendants had authority, control, and dominion over
 10
      these conditions; thus, the absence of accessible facilities was not a mishap, but
 11
 12   rather an intentional act.
 13         29.    These barriers to access are described herein without prejudice to
 14
      Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
 15
 16   access agents, pursuant to Doran v 7-ELEVEN, Inc., 524 F3d 1034 (9th Cir. 2008)
 17   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
 18
      have all barriers that relate to his or her disability removed, regardless of whether
 19
 20   he or she personally encountered them).
 21      IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 22
          WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
 23
 24                                  (Against All Defendants)
 25
            30.    Plaintiff alleges and incorporates by reference each and every
 26
      allegation contained in all prior paragraphs of this complaint.
 27
 28         31.    Title III of the ADA prohibits discrimination against any person on the
                                            16
                                         COMPLAINT
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  1   basis of disability in the full and equal enjoyment of the goods, services, facilities,
  2
      privileges, advantages, or accommodations of any place of public accommodation
  3
  4   by any person who owns, leases, or operates a place of public accommodation.

  5   U.S.C. § 12182(a).
  6
            32.    Defendants discriminated against Plaintiff by denying “full and equal
  7
  8   enjoyment” and use of the goods, services, facilities, privileges, or accommodations
  9   of Defendant’s facility during each visit and each incident of deterred visit.
 10
            33.    The acts and omissions of Defendants herein were/are in violation of
 11
 12   Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
 13         34.     Pursuant to the ADA, discrimination is a “failure to make reasonable
 14
      modifications in policies, practices or procedures, when such modifications are
 15
 16   necessary to afford goods, services, facilities, privileges, advantages or
 17   accommodations to individuals with disabilities, unless the entity can demonstrate
 18
      that making such modifications would fundamentally alter the nature of such goods,
 19
 20   services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
 21
      12182(b)(2)(A)(ii).
 22
            35.    The ADA requires removal of architectural barriers in existing
 23
 24   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv.)
 25
      (“discrimination includes … a failure to remove architectural barriers, and
 26
      communication barriers that are structural in nature, in existing facilities, … where
 27
 28   such removal is readily achievable”). The term “readily achievable” is defined as
                                           17
                                        COMPLAINT
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  1   “easily accomplishable and able to be carried out without much difficulty or
  2
      expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
  3
  4   Standards of Accessible Design (“ADAS”), found at 28 C.F.R., Part 36, including

  5   the ADA Accessibility Guidelines for Buildings and Facilities (“ADAAG”) at Part
  6
      36, Appendix A.
  7
  8         36.     If removal of any barrier is not readily achievable, a failure to make
  9   goods, services, facilities, or accommodations available through alternative
 10
      methods is also prohibited if these methods are readily achievable. 42 U.S.C. §
 11
 12   12182(b)(2)(A)(v).
 13         37.     Plaintiff alleges that Defendants can easily remove the architectural
 14
      barriers at their facility without much difficulty or expense, and that Defendants
 15
 16   violated the ADA by failing to remove those barriers because removal was readily
 17   achievable. There are companies in the area which can repaint parking areas for as
 18
      little as $350. Defendants can afford such costs, which are a fraction of what
 19
 20   Defendants receive in rental profits for such a large and expensive property.
 21
            38.     Alternatively, if it was not “readily achievable” for Defendants to
 22
      remove barriers at their facilities, Defendants violated the ADA by failing to make
 23
 24   the required services available through alternative methods, which are readily
 25
      achievable.
 26
            39.     On information and belief, the facility was modified after January 26,
 27
 28   1992, mandating compliance access requirements under the ADA.
                                           18
                                        COMPLAINT
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  1         40.    The ADA requires that facilities altered in a manner that affects or
  2
      could affect their usability must be made readily accessible to individuals with
  3
  4   disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).

  5         41.    Plaintiff alleges that Defendants altered the facilities at the Property in
  6
      a manner that violated the ADA, and/or failed to make the Property readily
  7
  8   accessible to physically disabled persons, including Plaintiff, to the maximum
  9   extent feasible.
 10
            42.    The ADA also requires reasonable modifications in policies, practices,
 11
 12   or procedures, when such modifications are necessary to afford goods, services,
 13   facilities, privileges, advantages, or accommodations to individuals with
 14
      disabilities, unless the entity can demonstrate that making such modifications
 15
 16   would fundamentally alter the nature of such goods, services, facilities, privileges,
 17   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 18
            43.    Plaintiff alleges that Defendants violated the ADA by failing to make
 19
 20   reasonable modifications in policies, practices, or procedures at the Property when
 21
      these modifications were necessary to afford (and would not fundamentally alter the
 22
      nature of) the goods, services, facilities, privileges, advantages, or accommodations.
 23
 24         44.    Plaintiff seeks a finding from this Court that Defendants violated the
 25
      ADA, so that he may pursue damages under California’s Unruh Civil Rights Act
 26
      for Disable Persons Act.
 27
 28         45.    Here Defendants’ failure to make sure that accessible facilities were
                                           19
                                        COMPLAINT
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  1   available and ready to be used by the Plaintiff was/is a violation of law.
  2
            46.    Plaintiff would like to continue to frequent Defendants’ property
  3
  4   because it is close to his home. However, he is deterred from doing so because he

  5   has been discriminated against and is aware of accessibility barriers at the Property.
  6
            47.    Among the remedies sought, Plaintiff seeks an injunction order
  7
  8   requiring compliance with state and federal access laws, and remediation of all the
  9   existing access violations at the Property.
 10
        V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
 11
 12                                 (Cal. Civ. Code § 51-53.)
 13                                 (Against All Defendants)
 14
            48.    Plaintiff repleads and incorporates by reference, as though fully set
 15
 16   forth herein, the allegations contained in all prior paragraphs of this complaint.
 17         49.    California Civil Code § 51 states, in part: “All persons within the
 18
      jurisdictions of this state are entitled to the full and equal accommodations,
 19
 20   advantages, facilities, privileges, or services in all business establishments of every
 21
      kind whatsoever.”
 22
            50.    California Civil Code § 51 also states, in part: “No business
 23
 24   establishment of any kind whatsoever shall discriminate against any person in this
 25
      state because of the disability of the person.”
 26
            51.    California Civil Code § 51(f) specifically incorporates, by reference,
 27
 28   an individual’s rights under the ADA, into the Unruh Civil Rights Act. (“Unruh
                                           20
                                        COMPLAINT
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  1   Act”).
  2
               52.   The Unruh Act also provides that a violation of the ADA, or California
  3
  4   state accessibility regulations, is a violation of the Unruh Act Cal. Civ. Code §

  5   51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D.
  6
      Cal. 1994).
  7
  8            53.   Defendants’ above-mentioned acts and omissions have violated the
  9   Unruh Act by denying Plaintiff his rights to full and equal use of the
 10
      accommodations, advantages, facilities, privileges, and services they offer, on the
 11
 12   basis of Plaintiff’s disability.
 13            54.   Defendants’ above-mentioned acts and omissions have also violated
 14
      the Unruh Act by denying Plaintiff his rights to equal access pursuant to the ADA;
 15
 16   and, thus, Defendants are liable for damages. Cal. Civ. Code § 51(f), 52(a).
 17            55.   Because violation of the Unruh Act resulted in difficulty, discomfort,
 18
      and/or embarrassment for Plaintiff, the Defendants are each also responsible for
 19
 20   statutory damages, such as a civil penalty. Cal. Civ. Code § 55.56(a)(c).
 21
               56.   Plaintiff was actually damaged.
 22
      //
 23
 24   //
 25
      //
 26
      //
 27
 28   //
                                            21
                                         COMPLAINT
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  1         57.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks
  2
      statutory minimum damages of four thousand dollars ($4,000) for each offense.
  3
  4                                  PRAYER FOR RELIEF

  5                  WHEREFORE, Plaintiff prays for judgment against Defendants, as
  6
      follows:
  7
  8         1. For injunctive relief, compelling Defendants to comply with the
  9               Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
 10
                  Plaintiff is not invoking section 55 of the California Civil Code and is not
 11
 12               seeking injunctive relief under the Disabled Person Acts.
 13         2. Damages under the Unruh Civil Rights Act, which provides for actual
 14
                  damages and a statutory minimum of $4,000 per each offense.
 15
 16         3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
 17               42 U.S.C. § 12205, and Cal. Civ. Code § 52.
 18
                                         JURY DEMAND
 19
 20   Plaintiffs demand a trial by jury on all issues so triable.
 21
 22
      DATED: December 10, 2020                 THE LAW OFFICE OF HAKIMI & SHAHRIARI
 23
 24
                                         By:   /s/ Peter Shahriari, Esq.____________
 25                                            PETER SHAHRIARI, ESQ.
 26                                            Attorney for Plaintiff, James Shayler

 27
 28
                                            22
                                         COMPLAINT
